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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA


                                   MEMORANDUM



Honorable John A. Mendez                     RE: Bob An
United States District Judge                     Docket Number: 0972 2:10CR00168-002
Sacramento, California                           PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Bob An is requesting permission to travel to Toronto, Canada.        Bob An is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On April 30, 2013, Bob An was sentenced for the offense of
21 USC 841(a)(1), Manufacturing at Least 100 Marijuana Plants (Class B Felony).


Sentence Imposed: Time Served, 60 months Supervised Release, and $100 Special Assessment
(Paid).


Dates and Mode of Travel: From May 26, 2017, through June 3, 2017. Traveling by Canada
Air – Airlines.


Purpose: To visit great aunt and vacationing with wife and family.




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                                                                                               REV. 06/2015
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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         Docket Number: 0972 2:10CR00168-002
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                         /s/ Tim Mechem

                                        TIM D. MECHEM
                            Supervising United States Probation Officer


Dated:      April 26, 2017
            Fresno, California
            TDM/rmv
                               /s/ Brian J. Bedrosian
 REVIEWED BY:                BRIAN J. BEDROSIAN
                             Supervising United States Probation Officer




                                  ORDER OF THE COURT

          ☒       Approved        ☐      Disapproved



 5/2/2017                                        /s/ John A. Mendez
 Date                                         John A. Mendez
                                              United States District Court Judge




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                                                                                                 REV. 06/2015
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
